         Case 3:20-cv-01866-IM        Document 99     Filed 03/26/21   Page 1 of 8




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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                      Case No. 3:20-cv-01866-IM (L)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others             JOINT RESPONSE IN OPPOSITION
similarly situated                                   TO MOTION TO INTERVENE FILED
                                                     BY NON-PARTY BENJAMIN
              Plaintiff,                             BARBER

       vs.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director of
the Oregon Department of Administrative
Services; OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREGON; DOES 1-10,

              Defendants.




RESPONSE TO MOTION TO INTERVENE
          Case 3:20-cv-01866-IM          Document 99        Filed 03/26/21     Page 2 of 8




        All parties jointly respond to the Motion to Intervene filed by non-party Benjamin Barber

(Dkt. 92). Given the posture of this case and the nature of Mr. Barber’s arguments, this “Motion

to Intervene” is simply an objection to the parties’ Settlement, which the Court has preliminarily

approved. (Dkt. 85; Dkt. 94.) Mr. Barber is a Settlement Class Member, as defined in the

Settlement, because he applied to the Fund. This Court should deny the Motion to Intervene and

direct Mr. Barber to follow the procedures outlined in the Settlement.

        The Motion to Intervene suffers from at least two defects. First, although Mr. Barber

purports to bring the motion under Fed. R. Civ. P. 24(a)(1), that rule governs only intervention

by potential parties who have an “an unconditional right to intervene” under a federal statute.

Mr. Barber has not identified any federal statute granting him that right. Furthermore, Mr. Barber

has not attached “a pleading that sets out the claim or defense for which intervention is sought.”

Fed. R. Civ. P. 24(c). While failure to follow this requirement is not per se fatal, Mr. Barber’s

vague descriptions of the grounds supporting his desired intervention and the claims he plans to

bring lack sufficient specificity to overcome this defect. Cf. Beckman Indus., Inc. v. Int’l Ins. Co.,

966 F.2d 470, 474-75 (9th Cir. 1992) (permitting intervention to modify a protective order

despite absence of proposed pleading because “movant describe[d] the basis for intervention

with sufficient specificity to allow the district court to rule”).

        Even construing the Motion to Intervene as one made under Rule 24(a)(2), which

requires intervention when the applicant has an interest in “the property or transaction that is the

subject of the action,” it still fails. A movant seeking to intervene under Rule 24(a)(2) must

“demonstrate that (1) [he] has a significant protectable interest relating to the property or

transaction that is the subject of the action; (2) the disposition of the action may, as a practical

matter, impair or impede the applicant’s ability to protect [his] interest; (3) the application is


Page 1 –RESPONSE TO MOTION TO INTERVENE                                            Snell & Wilmer
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          Case 3:20-cv-01866-IM         Document 99        Filed 03/26/21     Page 3 of 8




timely; and (4) the existing parties may not adequately represent the applicant’s interest.” United

States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004). It is the movant’s burden to

show “that all the requirements for intervention have been met.” Id. (emphasis in original).

       Mr. Barber cannot show that disposition of the action may impair or impede his ability to

protect his interest. He is a Fund applicant and therefore a member of the Settlement Class that

this Court provisionally certified. He is able to exclude himself from the Settlement Class

through the procedures set forth in the Settlement Agreement and pursuant to the Court’s Order

granting preliminary approval.

       Moreover, Mr. Barber has not made any argument that he can meet requirements (3) or

(4). His motion is almost certainly untimely given the pending settlement, and, if he chooses not

to opt out, he can raise any relevant objections to the proposed representation of the class

through the Court-approved objection process. 1

       Further, even if Mr. Barber had “a claim or defense that shares with the main action a

common question of law or fact” sufficient to justify permissive intervention, that fact would be

strongly outweighed by the significant delay or prejudice that will result if intervention is

permitted. See Fed. R. Civ. P. 24(b)(3). Intervention should not “transform [a] nearly complete

action into a second action.” See Scholl v. Mnuchin, No. 20-cv-05309-PJH, 2021 WL 84487, at

*7 (N.D. Cal. Jan. 11, 2021). For that reason, courts in the Ninth Circuit reject intervention when

a proposed class action settlement would permit would-be-intervenors “to submit a formal

objection in the manner set forth in the notice required to be sent to the settlement class.” Sterrett



1
  Mr. Barber’s objections to the settlement, even if timely made, are based on a fundamental
misunderstanding of the facts. Mr. Barber claims that The Contingent spent $53,185,880 of the
$62 million fund on “administrative costs.” The evidence shows, however, that The Contingent
spent merely 5% of the Fund, or $3.5 million, to administer it. (Dkt. 48, Declaration of Ben Sand).
Page 2 –RESPONSE TO MOTION TO INTERVENE                                           Snell & Wilmer
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          Case 3:20-cv-01866-IM         Document 99        Filed 03/26/21     Page 4 of 8




v. Sonim Techs., Inc., No. 19-cv-06416-MMC, 2020 WL 6342941, at *1 (N.D. Cal. Oct. 29,

2020) (denying intervention even though the Court had not yet granted preliminary approval of

the settlement). There is no reason to permit Mr. Barber to upset the carefully-crafted,

preliminarily-approved settlement in this case through intervention, given the other avenues

available through which he and other potential class members may make their objections known.

       The Court also should reject Mr. Barber’s attempt to represent his half-sister, as well as

certain other relatives (who did not apply to the Fund). Mr. Barber does not represent that he is

an attorney, nor does he appear to have an active Oregon law license, based on a search of the

Oregon State Bar’s publicly available membership directory. See ORS § 9.160(1) (prohibiting

the unlicensed practice of law). His attempt to represent his half-sister thus fails as a matter of

law.

       He also makes no showing that he should be granted “next friend” status to represent his

allegedly incapacitated relatives under Federal Rule of Civil Procedure 17. “‘[N]ext friend’

standing is by no means granted automatically to whomever seeks to pursue an action on behalf

of another.” Whitmore v. Arkansas, 495 U.S. 149, 163 (1990). Instead, the putative next friend

must present “meaningful evidence” of (1) “an adequate explanation—such as inaccessibility,

mental incompetence, or other disability—why the real party in interest cannot appear on his

own behalf to prosecute the action,” and (2) commitment “to the best interests of the person on

whose behalf he seeks to litigate.” Id. Mr. Barber has not presented any evidence supporting

either prong. And even assuming that Mr. Barber’s relatives have some viable claim and have

been found incompetent under ORS §§ 125.300 et seq., Mr. Barber has not provided any reason




Page 3 –RESPONSE TO MOTION TO INTERVENE                                           Snell & Wilmer
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          Case 3:20-cv-01866-IM         Document 99        Filed 03/26/21     Page 5 of 8




why he would be a more suitable representative than a court-appointed guardian, assuming such

a reason exists. 2

        For the foregoing reasons, this Court should deny the Motion to Intervene and allow this

case to proceed as originally agreed to by the parties. Mr. Barber is free to exclude himself from

the Settlement if he desires, or object to it in due course if he has good cause to do so.



Dated: March 26, 2021                          ELLEN ROSENBLUM
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                                               FOR THE STATE OF OREGON

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2
  Multiple cases (including one in this Court) indicate that there might be concerns as to whether
Mr. Barber would be a good candidate to represent an incapacitated relative. See, e.g., Barber v.
Oregon, No. 3:19-cv-01631-YY, 2019 WL 584057 (Nov. 5, 2019) (Immergut, J.) (cataloguing Mr.
Barber’s filings in this District and dismissing Mr. Barber’s pro se complaint, which he filed
against 25 states, the District of Columbia, Judge Simon and Magistrate Judge Acosta in an effort
to challenge “revenge porn” statutes such as the one pursuant to which a jury convicted him);
Barber v. Vance, No. 3:16-CV-2105-AC, 2016 WL 6647936, at *1 n1 (D. Or. Nov. 9, 2016)
(Simon, J.) (denying Mr. Barber’s motion to enjoin his prosecution in Washington County under
“revenge porn” statute in connection with pro se complaint for damages under First Amendment);
State v. Benjamin Jay Barber, Washington County No. 16CR46339 (Mr. Barber convicted on five
counts of violating ORS 163.472 by unlawfully disseminating an intimate image and found to have
violated his probation on several occasions); see also “Deputies: Man on the run after ‘revenge
porn’ conviction caught in Portland,” available at https://www.kptv.com/archives/deputies-man-
on-the-run-after-revenge-porn-conviction-caught-in-ne-portland/article_64ec853a-ba9d-579e-
b592-dbe1dc2a5855.html (accessed Mar. 25, 2021).
Page 4 –RESPONSE TO MOTION TO INTERVENE                                           Snell & Wilmer
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        Case 3:20-cv-01866-IM   Document 99   Filed 03/26/21     Page 6 of 8




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Page 5 –RESPONSE TO MOTION TO INTERVENE                              Snell & Wilmer
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        Case 3:20-cv-01866-IM   Document 99   Filed 03/26/21   Page 7 of 8




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Page 6 –RESPONSE TO MOTION TO INTERVENE                            Snell & Wilmer
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            Case 3:20-cv-01866-IM         Document 99       Filed 03/26/21   Page 8 of 8




                                     CERTIFICATE OF SERVICE

         I hereby certify that on March 26, 2021, I caused to be served a full and exact copy of the

foregoing JOINT RESPONSE IN OPPOSITION TO MOTION TO INTERVENE FILED

BY NON-PARTY BENJAMIN BARBER, via the court’s CM/ECF system, upon the following:

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         I further certify that on the same date, I caused to be served a full and exact copy of the

same document, JOINT RESPONSE IN OPPOSITION TO MOTION TO INTERVENE

FILED BY NON-PARTY BENJAMIN BARBER, via first class mail, postage prepaid, upon

the following:

         Benjamin Barber
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         Dated: March 26, 2021



                                                s/ Clifford S. Davidson
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Page 7 –RESPONSE TO MOTION TO INTERVENE                                          Snell & Wilmer
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